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                                 123222



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


 In Re: COOK MEDICAL, INC., IVC                   Case No. 1:14-ml-2570-RLY-TAB
 FILTERS MARKETING, SALES                         MDL No. 2570
 PRACTICES AND PRODUCTS LIABILITY
 LITIGATION


 This Document Relates to Plaintiff(s):

 Terra Frost (1:21-cv-06343-RLY-TAB)



                  MOTION TO WITHDRAW ATTORNEY APPEARANCE

          Now comes Plaintiff Terra Frost requesting permission to withdraw the attorney

appearance of David Ortez, formerly of Johnson Law Group, and for such would show the Court

as follows:

          1.    Plaintiff Terra Frost was initially represented in this action by David Ortez and

Basil E. Adham of Johnson Law Group.

          2.    David Ortez has subsequently left the law firm of Johnson Law Group.

          3.    Basil E. Adham and Johnson Law Group continue to represent Plaintiff in this

matter.

          4.    As such, Plaintiff seeks an Order from the Court withdrawing David Ortez as

counsel of record in this matter.

          5.    Plaintiff has approved the withdrawal.

          6.    This withdrawal is not requested for purposes of delay and will not prejudice any

party.
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       WHEREFORE, Plaintiff prays that this Honorable Court GRANT Plaintiff’s Motion to

Withdraw Counsel, removing David Ortez as counsel for plaintiff in this action.



DATED: September 2, 2021                           Respectfully Submitted,

                                                   /s/ Basil E. Adham
                                                   Basil E. Adham (TX Bar No. 2408172)
                                                   JOHNSON LAW GROUP
                                                   2925 Richmond Ave., Ste. 1700
                                                   Houston, TX 77098
                                                   Phone: (713) 626-9336
                                                   ivc@johnsonlawgroup.com
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 2nd day of September, 2021, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which automatically sends an

electronic notification to all counsel of record and other CM/ECF participants.


DATED: September 2, 2021                            /s/ Basil E. Adham
                                                    Basil E. Adham
